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               EXHIBIT 1
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From:                              Dick, Joshua D. <JDick@gibsondunn.com>
Sent:                              Monday, January 8, 2024 2:28 PM
To:                                efron@davidefronlaw.com
Subject:                           RE: San Juan Climate Case


Hi David:

I am following up on my email below. Can you please let me know if you have time early this week to discuss a briefing
schedule for Defendants’ motions to dismiss.

Best,
Josh

Joshua D. Dick
Partner

T: +1 415.393.8331 | M: +1 310.497.1699
JDick@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
One Embarcadero Center Suite 2600, San Francisco, CA 94111-3715

From: Dick, Joshua D.
Sent: Thursday, January 4, 2024 8:55 AM
To: efron@davidefronlaw.com
Subject: San Juan Climate Case

Hi David,

I am following up on a voice message I left earlier today. I represent Chevron in the climate change cases and have
acted as liaison counsel for Defendants on various issues. I would like to discuss the lawsuit you recently filed on behalf
of San Juan and, in particular, whether the parties can negotiate and agree upon a reasonable schedule to brief
Defendants’ forthcoming motions to dismiss. Please let me know when would be a convenient time to discuss these
issues.

Best,
Josh


Joshua D. Dick
Partner

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